Case 0:01-cv-02086-DWF-AJB                     Document 350-3         Filed 08/31/2004           Page 1 of 22



2004 WL 1770706                                                                                            Page 1
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))


                                                             brought by Asian-American scientist against
Only the Westlaw citation is currently available.            university, alleging discrimination in compensation
                                                             and promotion practices, to extent that claims were
                                                             based upon discrete acts outside relevant time period.
                                                             Civil Rights Act of 1964, 42 U.S.C.A. § 2000e-
             United States District Court,                   5(e)(1).
                      D. Maine.
                                                             [2] Civil Rights    1732
      Dilip K. LAKSHMAN, Plaintiff,                          78k1732 Most Cited Cases
                   v.
 UNIVERSITY OF MAINE SYSTEM, Defendant.                      Maine Human Rights Act (MHRA) statute of
                                                             limitations, requiring plaintiff to commence action
                   No. CV-03-52-B-W.                         not more than two years after purported act of
                                                             unlawful discrimination, applied to bar claims
                     Aug. 6, 2004.                           brought by Asian-American scientist against
                                                             university, alleging discrimination in compensation
                                                             and promotion practices, to extent that claims were
Background: Asian-American scientist brought state           based upon discrete acts outside relevant time period.
court     action   against   university,   alleging          5 M.R.S.A. § 4613(C).
discrimination in compensation and promotion
practices. Action was removed. University moved for          [3] Civil Rights    1136
summary judgment.                                            78k1136 Most Cited Cases

 Holdings: The District Court, Woodcock, J., held            Asian-American scientist who brought action against
that:                                                        university failed to establish that he was paid less
 (1) statutes of limitations barred claims based upon        than members outside his protected class holding
discrete acts outside relevant time periods;                 same position, as required to maintain unequal pay
 (2) scientist failed to establish Title VII unequal pay     claims under Title VII and Maine Human Rights Act
claims;                                                      (MHRA); proffered statistical study included all
 (3) scientist failed to establish Title VII failure to      doctorate degree holders, whether they were research
promote claims;                                              scientists or teaching faculty, considered only
 (4) university did not intentionally discriminate           individual's degree and date of hire, and failed to
against scientist;                                           consider race or gender. Civil Rights Act of 1964, §
 (5) university did not create hostile work                  701 et seq., 42 U.S.C.A. § 2000e et seq.; 5 M.R.S.A.
environment;                                                 § 4551 et seq.
 (6) university did not unlawfully retaliate against
scientist; and                                               [4] Civil Rights    1547
 (7) alleged pay discrepancies and failure to promote        78k1547 Most Cited Cases
were not based upon gender.
                                                             Where gross statistical disparities in compensation
Motion granted.                                              can be shown, they alone may in proper Title VII
                                                             case constitute prima facie proof of pattern or
                                                             practice of discrimination. Civil Rights Act of 1964,
[1] Civil Rights       1530                                  § 701 et seq., 42 U.S.C.A. § 2000e et seq.

78k1530 Most Cited Cases                                     [5] Civil Rights    1542
                                                             78k1542 Most Cited Cases
Title VII statute of limitations, requiring plaintiff to
file any charge with Equal Employment Opportunity            Probative worth of statistical testimony in Title VII
Commission (EEOC) within 180 days after alleged              case must be evaluated in light of methodology
unlawful employment practice, applied to bar claims          employed, data available, and factual mosaic unique

                              Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                      Document 350-3         Filed 08/31/2004           Page 2 of 22
2004 WL 1770706                                                                                              Page 2
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

to case at hand. Civil Rights Act of 1964, § 701 et          bias. Civil Rights Act of 1964, § 701 et seq., 42
seq., 42 U.S.C.A. § 2000e et seq.                            U.S.C.A. § 2000e et seq.

[6] Civil Rights    1535                                     [10] Civil Rights    1383
78k1535 Most Cited Cases                                     78k1383 Most Cited Cases

To establish pretext in Title VII action, independent        Four-year statute of limitations applicable to § 1981
evidence of discriminatory animus is not required,           actions barred claims brought by Asian-American
and in proper case trier may infer ultimate fact of          scientist against university, alleging discrimination in
discrimination from components of plaintiff's prima          compensation and promotion practices, to extent that
facie showing, combined with compelling proof of             claims were based upon discrete acts outside relevant
pretextual nature of employer's explanation. Civil           time period. 28 U.S.C.A. § 1658; 42 U.S.C.A. §
Rights Act of 1964, § 701 et seq., 42 U.S.C.A. §             1981.
2000e et seq.
                                                             [11] Civil Rights    1136
[7] Civil Rights    1136                                     78k1136 Most Cited Cases
78k1136 Most Cited Cases
                                                             [11] Civil Rights    1138
Asian-American scientist who brought action against          78k1138 Most Cited Cases
university failed to establish that university's
proffered reasons for paying him lower salary than           Asian-American scientist who brought action against
other researchers were pretext for discrimination, as        university, alleging bias in compensation and
required to maintain unequal pay claims under Title          promotion practices, failed to present any direct
VII and Maine Human Rights Act (MHRA); there                 evidence of intentional discrimination, as required to
was no evidence that alleged offensive comments by           maintain disparate treatment and unequal pay claims
co-worker were reflected in university decision, nor         under § 1981. 42 U.S.C.A. § 1981.
of deferential treatment based on prohibited factors.
Civil Rights Act of 1964, § 701 et seq., 42 U.S.C.A.         [12] Civil Rights    1147
§ 2000e et seq.; 5 M.R.S.A. § 4551 et seq.                   78k1147 Most Cited Cases

[8] Civil Rights    1135                                     To establish prima facie hostile work environment
78k1135 Most Cited Cases                                     claim under § 1981, plaintiff must demonstrate that:
                                                             (1) he is member of protected class; (2) he was
Asian-American researcher who brought action                 subjected to unwelcome harassment; (3) harassment
against university failed to present any evidence that       was based on his race, ethnicity, color, or national
senior scientist position he sought was filled by            origin; (4) harassment was sufficiently severe or
others whose credentials were comparable to his, as          pervasive as to alter conditions of his employment
required to maintain failure to promote claims under         and create abusive work environment; (5)
Title VII and Maine Human Rights Act (MHRA).                 objectionable conduct was both objectively and
Civil Rights Act of 1964, § 701 et seq., 42 U.S.C.A.         subjectively offensive, such that reasonable person
§ 2000e et seq.; 5 M.R.S.A. § 4551 et seq.                   would find it hostile or abusive and victim in fact did
                                                             perceive to be so; and (6) some basis for employer
[9] Civil Rights    1137                                     liability has been established. 42 U.S.C.A. § 1981.
78k1137 Most Cited Cases
                                                             [13] Civil Rights    1147
Asian-American scientist who brought action against          78k1147 Most Cited Cases
university, alleging discrimination in compensation
and promotion practices, failed to establish that there      To establish "hostile work environment" for purpose
was deferential treatment in employment action and           of § 1981 claim, environment must be sufficiently
that adverse employment decision was caused in part          hostile or abusive in light of all circumstances,
by forbidden type of bias, as required to maintain           including: (1) frequency of discriminatory conduct;
Desert Palace mixed motive claim under Title VII,            (2) its severity; (3) whether it is physically
where scientist presented only unsupported assertions        threatening or humiliating, or mere offensive
that university's actions were result of racial or ethnic    utterance; and (4) whether it unreasonably interferes

                              Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3          Filed 08/31/2004           Page 3 of 22
2004 WL 1770706                                                                                             Page 3
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

with employee's work performance. 42 U.S.C.A. §             [18] Civil Rights    1251
1981.                                                       78k1251 Most Cited Cases

[14] Civil Rights    1147                                   Asian-American scientist who brought action against
78k1147 Most Cited Cases                                    university failed to establish that university's
                                                            proffered reasons for altering his job description were
In assessing hostile work environment claim under §         pretext for discrimination, as required to maintain
1981, court may consider entire scope of claim,             retaliation claims under Title VII and Maine Human
including behavior alleged outside statutory time           Rights Act (MHRA); there was no evidence that
period, so long as any act contributing to that hostile     university's animus against scientist was so strong
environment takes place within statutory period. 42         that it was willing to reorganize job descriptions of
U.S.C.A. § 1981.                                            entire research scientist staff to retaliate against him
                                                            alone. Civil Rights Act of 1964, § 704(a), 42
[15] Civil Rights    1147                                   U.S.C.A. § 2000e-3(a); 5 M.R.S.A. § 4633.
78k1147 Most Cited Cases
                                                            [19] Civil Rights     1067(1)
Asian-American scientist who brought action against         78k1067(1) Most Cited Cases
university, alleging discrimination in compensation
and promotion practices, failed to establish that           Title IX imposes obligation on educational
occasional offensive comments from co-employees             institutions receiving federal funds to refrain from
regarding his ethnicity rose to level of harassment         denying educational opportunities on basis of sex. 20
and pervasiveness necessary to sustain hostile work         U.S.C.A. § 1681.
environment claim under §           1981; comments
occurred over fifteen-year period, were not                 [20] Civil Rights     1330(2)
threatening, and did not actually interfere wi th           78k1330(2) Most Cited Cases
scientist's job performance. 42 U.S.C.A. § 1981.
                                                            Title IX enforcement machinery includes implied
[16] Civil Rights    1243                                   private right of action through which aggrieved party
78k1243 Most Cited Cases                                    may seek money damages. 20 U.S.C.A. § 1681.

To make out prima facie case of unlawful retaliation        [21] Civil Rights    1383
under Title VII or Maine Human Rights Act                   78k1383 Most Cited Cases
(MHRA), employee must show that: (1) he engaged
in protected activity; (2) he suffered adverse              Six-year Maine statute of limitations governing
employment action after or contemporaneous with             personal injury actions applied to bar Title IX claims
such activity; and (3) there was causal link between        brought by male scientist against university, alleging
protected activity and adverse job action. Civil Rights     gender discrimination in compensation and
Act of 1964, § 704(a), 42 U.S.C.A. § 2000e-3(a); 5          promotion practices, to extent that claims were based
M.R.S.A. § 4633.                                            upon discrete acts outside relevant time period. 20
                                                            U.S.C.A. § 1681; 14 M.R.S.A. § 752.
[17] Civil Rights    1246
78k1246 Most Cited Cases                                    [22] Civil Rights    1131
                                                            78k1131 Most Cited Cases
Asian-American scientist who brought action against
university, alleging discrimination in compensation         Male scientist who brought action against university
and promotion practices, failed to establish that he        failed to establish that difference between his wage
suffered adverse employment action as result of his         and wages of other research scientists was based on
filing civil rights complaints, as required to maintain     gender, as required to maintain unequal pay claim
retaliation claims under Title VII and Maine Human          under Title IX; scientist presented no evidence
Rights Act (MHRA), where university actually                regarding gender of other research scientists, number
increased scientist's salary after filing. Civil Rights     of female as opposed to male researchers, salary
Act of 1964, § 704(a), 42 U.S.C.A. § 2000e-3(a); 5          levels for female as opposed to male research
M.R.S.A. § 4633.                                            scientists, and whether any differences could be
                                                            attributed to factors other than gender. 20 U.S.C.A. §

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                     Document 350-3         Filed 08/31/2004           Page 4 of 22
2004 WL 1770706                                                                                             Page 4
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

1681.                                                       Dr. Lakshman was born in India and speaks with an
                                                            Indian accent. [FN1] He has filed suit, claiming the
[23] Civil Rights    1135                                   University of Maine System (University) violated his
78k1135 Most Cited Cases                                    legal rights due to his race, color, ethnicity, national
                                                            origin, and gender. This Court grants the University's
To establish prima facie Title IX claim for failure to      Motion for Summary Judgment, because Dr.
promote, plaintiff must show that: (1) he was member        Lakshman's claims are either time barred or fail to
of protected class; (2) he was qualified for position;      create genuine issues of material fact within strictures
(3) he was not hired despite his qualifications; and (4)    of the statutory provisions he has invoked.
job was given to person of opposite sex. 20 U.S.C.A.
§ 1681.                                                     I. Statement of Facts.

[24] Civil Rights    1170                                    In accordance with the "conventional summary
78k1170 Most Cited Cases                                    judgment praxis," the Court recounts the facts in a
                                                            light most favorable to Dr. Lakshman's theory of the
Male scientist who brought action against university        case, consistent with record support. [FN2] Gillen v.
failed to establish that university's hiring decisions      Fallon Ambulance Serv., 283 F.3d 11, 16 (1st
were impermissibly based upon gender, as required           Cir.2002). The Court has relied either on the
to maintain failure to promote claim under Title IX;        uncontested facts or on Dr. Lakshman's version, if in
position for which scientist was allegedly                  conflict. After receiving his doctorate in plant
recommended did not actually exist, and scientist was       pathology from Cornell University in 1984 and
subsequently promoted to senior position. 20                undertaking two years of post-doctoral study, Dr.
U.S.C.A. § 1681.                                            Lakshman became employed at the University of
                                                            Maine in 1986 as a post-doctoral Research Associate
                                                            in the Department of Biological Sciences
[25] Civil Rights    1171
                                                            (Department). [FN3] Dr. Lakshman was hired to
78k1171 Most Cited Cases
                                                            assist with the research projects of Dr. Stellos
                                                            Tavantzis, a Professor of Plant Pathology. Dr.
Male scientist who brought action against university
                                                            Lakshman's job was a non-tenure track position
failed to establish that university's proffered reasons
                                                            within the Maine Agricultural and Forestry
for failing to promote him were pretext for gender
                                                            Experiment Station (MAFES). [FN4]
discrimination, as required to maintain claim under
Title IX; although supervisor allegedly discouraged
                                                             There are at least two career paths for post-doctoral
scientist from applying for promotion, she similarly
                                                            professionals within research universities. The first is
discouraged female research scientist, and two of
                                                            the traditional tenured faculty route; the second, less
final three candidates for position were male. 20
                                                            well traveled, is the non-faculty scientist route.
U.S.C.A. § 1681.
                                                            Having obtained a Ph.D., many scientists seek a
 Judith W. Thornton, Ebitz & Thornton, P.A.,
                                                            tenure track appointment, but these prized positions
Brewer, for Dilip K Lakshman, Plaintiff.
                                                            become available sporadically and, while waiting for
                                                            a faculty position to open, the scientist might settle,
Anne-Marie L. Storey, Rudman & Winchell, Paul
                                                            as Dr. Lakshman did, for a temporary research
W. Chaiken, Rudman & Winchell, Bangor, for
                                                            associate appointment. Encouraged by Dr. Tavantzis,
University of Maine System, Defendant.
                                                            Dr. Lakshman remained at MAFES, the research arm
                                                            of the University, in the hope his loyalty and talent
                                                            would lead to a tenure track appointment when the
    AMENDED ORDER ON DEFENDANT
                                                            opportunity presented itself.
 UNIVERSITY OF MAINE SYSTEM'S MOTION
            FOR SUMMARY
                                                             This did not prove true. Over the years, Dr.
              JUDGMENT
                                                            Lakshman found himself confined to the role of
                                                            research scientist. [FN5] His efforts to obtain tenure
WOODCOCK, District J.
                                                            track positions at the University were rebuffed and he
                                                            was paid substantially less than his faculty
 *1 Plaintiff Dilip K. Lakshman, Ph.D. (Lakshman),
                                                            colleagues. Although the University contends that Dr.
is employed as a Senior Scientist at the University of
                                                            Lakshman chose the research scientist career path,
Maine. A dark skinned male of East Asian descent,
                                                            Dr. Lakshman disagrees. He contends that he did not

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3          Filed 08/31/2004           Page 5 of 22
2004 WL 1770706                                                                                            Page 5
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

freely elect a less remunerative career path and was        Annis, Ph.D., a female, for the mycologist position.
not content to remain a research scientist under the        [FN9] Dr. Annis received her Ph.D. in 1995 in the
direction of higher paid and tenured faculty members        same field as Dr. Lakshman's: plant pathology. Dr.
of equal qualification. Instead, the University             Lakshman says he was more qualified than Dr. Annis
pigeonholed him into a poorly paid position and             for the mycology position.
blocked his efforts to break out into a position
consistent with his education and ability.                   In 1998, Dr. Lakshman asked Dr. Tavantzis to
                                                            request a promotion and raise. Dr. Tavantzis did so,
 *2 Dr. Lakshman's explanation for the University's         writing to Christopher Campbell, Ph .D., then the
actions forms the basis for his claim. When he came         Associate Chair of the Department. After Dr.
to the University in 1986, he was and still remains         Campbell failed to respond for over a year, Dr.
one of few non-Caucasian employees in his                   Lakshman wrote him directly on November 20, 2000.
Department. Although he concedes the University             In response, on November 27, 2000, Dr. Campbell
had an affirmative action plan, which applied to            commissioned a salary study on Dr. Lakshman's
Asians, he contends that upon urging by female              behalf and requested the Peer Review Committee to
faculty, the University focused its attention on the        review Dr. Lakshman's promotion request.
recruitment of women, to the detriment of minority
males. Dr. Lakshman believes he was, in effect, the          Sometime in November and December, 2000, Dr.
victim of two institutional biases: (1) a bias in favor     Lakshman met with Evelyn Silver, Ph.D., the
of female faculty candidates; and, (2) a bias against       University's Equal Employment Opportunity
his race, nationality, ethnicity, and color. These          Director. They discussed his concerns about the
biases, he asserts, coalesced to freeze him into a low      mycology position and Dr. Silver gave Dr. Lakshman
paying, non-faculty position, and out of a faculty          a copy of his rights under the University's equal
appointment.                                                opportunity program. During the meeting, after she
                                                            suggested there must be a misunderstanding within
 Dr. Lakshman alleges the University's discrimination       the Department, Dr. Lakshman told Dr. Silver not to
began in 1989, when he expressed an interest in an          take any action on his behalf.
open tenure track position in the Department. [FN6]
When he questioned Dr. Tavantzis about the position,         *3 On December 14, 2000, Dr. Lakshman met with
Dr. Tavantzis replied it was marked for a woman.            Dr. Campbell about his salary inequity and
[FN7] Although qualified, Dr. Lakshman did not              discrimination concerns. Following that meeting, Dr.
apply for the position, and it went to Jody Jellison,       Campbell repeatedly asked Dr. Tavantzis whether Dr.
Ph.D., a female. In 1993, Dr. Lakshman says he              Lakshman was an "unhappy person." Dr. Tavantzis
applied for a position as an Assistant Research             also told Dr. Lakshman that Dr. Campbell, then the
Professor and was rejected. [FN8] Instead, he was           Department Chair, and Susan Hunter, Ph.D., the Vice
awarded an Associate Scientist position, a job              Chair, wanted Dr. Lakshman to know that they
requiring only a bachelors degree and paying only           intended to create "disincentives," so that he could no
$1,300 more than he had been making. In 1995, Dr.           longer work at the University. [FN10] On February
Lakshman again approached Dr. Tavantzis. He asked           14, 2001, Dr. Lakshman's union representative wrote
to be promoted to the position of Senior Scientist;         Dr. Campbell seeking the status of his promotion
instead, he was placed in an Associate Scientist            request and on February 21, 2001, Dr. Lakshman
position, requiring only a masters degree, again at a       filed a complaint with the Maine Human Rights
salary far below the level of his qualifications.           Commission (MHRC). [FN11]

 In 1997, a tenure track position, in mycology,              On March 8, 2001, the Peer Review Committee
became available at the University. Dr. Jellison was        recommended Dr. Lakshman's promotion to Senior
the chair of the search committee and Dr. Tavantzis         Scientist, but did not specify the amount of his raise
was a member. Dr. Lakshman approached Dr.                   or his job description. On March 21, 2001, Dr.
Jellison about the position and she told him not to         Campbell and Dr. Hunter wrote to Dr. Lakshman and
apply, as she had "some thing else in mind." She said:      informed him, he would now have to work for three
"If you apply, you won't get it." Upon learning Dr.         faculty, not just one. Dr. Lakshman considered this
Jellison's response, Dr. Tavantzis shook his head and       change of job description to be the "disincentive"
said it was unfortunate after so many years of              Drs. Campbell and Hunter had mentioned to Dr.
mycological research, Lakshman could not apply and          Tavantzis. After the Campbell-Hunter letter, Dr.
would not be considered. The University hired Seania        Jellison met with Dr. Lakshman and told him he was

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3          Filed 08/31/2004           Page 6 of 22
2004 WL 1770706                                                                                            Page 6
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

"an unhappy person" and she was going to "closely           their conversations, and that the University would be
monitor him for misbehavior or bad behavior in her          a "very, very uncomfortable" place for him to work.
lab." Dr. Lakshman contends and the Unive rsity
agrees that he has never behaved badly during his           II. Procedural Posture.
entire time at the University. Dr. Lakshman's union
filed a grievance with the University, based on what         *4 After filing complaints with both the EEOC and
they alleged was an adverse job action in retaliation       the Maine Human Rights Commission (MHRC) on
for his complaints.                                         May 10, 2002, and receiving "right to sue" letters in
                                                            December, 2002, Dr. Lakshman initiated his
 Although the University characterizes ensuing              complaint in State of Maine Superior Court on
discussions between Dr. Lakshman and the                    February 20, 2003. [FN12] In his complaint, he
Department as collaborative, Dr. Lakshman says in           alleged six counts of discrimination in violation of 42
February 2002, he met with G. Bruce Wiersma,                U.S.C. § 1981; the Maine Human Rights Act; Title
Ph.D., then Dean of the Department and Director of          VII of the Civil Rights Act of 1964; Title IX of the
MAFES, and was handed an ultimatum: work on                 Education Amendment of 1972; and two counts of
only two projects and be paid $45,000 for ten months        retaliatory behavior in violation of Title VII and the
or leave the University. At the meeting, Dr.                Maine Human Rights Act. The University filed a
Lakshman, feeling he had no other choice, accepted          Petition and Notice of Removal to this Court and
the new job assignment and salary arrangement. On           simultaneously filed its answer and defenses on
February 22, 2002, Dr. Lakshman's union filed a             March 27, 2003.
grievance, alleging among other things that faculty
members have created a hostile and intimidating             III. Legal Standard.
work environment by using implied threats of
negative job evaluations. On May 10, 2002, Dr.               The moving party is entitled to summary judgment if
Lakshman re-filed his complaint with the MHRC and           there is no genuine issue as to any material fact and
the EEOC, alleging discrimination on the basis of           the moving party is entitled to judgment as a matter
race/ethnicity and gender.                                  of law. Fed.R.Civ.P. 56(c). "In this regard, 'material'
                                                            means that a contested fact has the potential to
 Dr. Lakshman includes two further contentions.             change the outcome of the suit under the governing
First, he asserts virtually throughout his employment       law if the dispute over it is resolved favorably to the
at the University, his salary has been woefully             nonmovant. By like token, 'genuine' means that 'the
inadequate, far less than the average salary for            evidence about the fact is such that a reasonable jury
similarly situated post-doctoral scientists. Second, he     could resolve the point in favor of the nonmoving
points to discriminatory remarks by members of the          party." ' Navarro v. Pfizer Corp., 261 F.3d 90, 93-94
Department faculty. In addition to Dr. Tavantzis'           (1st Cir.2001) (quoting McCarthy v. Northwest
comment in 1989 and Dr. Jellison's comment in               Airlines, Inc., 56 F.3d 313, 315 (1st Cir.1995)); see
1997, Dr. Lakshman refers to the following remarks:         also York Ins. Co. v. Schultz, 307 F.Supp.2d 108, 112
(1) in 1995-96, Professor Frank Manzer told the             (D.Me.2004). The party moving for summary
Department Chair Douglas Gelinas, Ph.D., and Dr.            judgment must demonstrate an absence of evidence
Lakshman's supervisor, Dr. Tavantzis, he did not            to support the nonmoving party's case. Celotex Corp.
know why Dr. Lakshman did not "go back to India";           v. Catrett, 477 U.S. 317, 325, 106 S.Ct. 2548, 91
(2) Dr. Gelinas remarked that Dr. Lakshman could            L.Ed.2d 265 (1986). The trial court is obligated to
have been considered for jobs in the 1990s if he had        "view the entire record in the light most hospitable to
been a female or a "Native Indian"; (3) Dr. Tavantzis'      the party opposing summary judgment, indulging in
comment that the mycologist would have to teach             all reasonable references in that party's favor."
undergraduates and they do not like to listen to            Feliciano De La Cruz v. El Conquistador Resort &
"someone with an accent"; (4) Dr. Tavantzis'                Country Club, 218 F.3d 1, 5 (1st Cir.2000); Griggs-
statement that foreign born scientists have to work         Ryan v. Smith, 904 F.2d 112, 115 (1st Cir.1990). In a
"ten times harder to be on a par with Americans"; (5)       discrimination action, however, "caution is
Dr. Jellison's statement in 2001 that he must be an         appropriate when considering summary judgment for
"unhappy person" and she would have to closely              an employer." Bilodeau v. Mega Indus., 50 F.Supp.2d
monitor him for bad behavior; and, (6) Dr. Tavantzis'       27, 44 (D.Me.1999).
statements to Dr. Lakshman that if he goes to court,
he will have difficulty working at the University, that     IV. Legal Analysis.
Dr. Tavantzis would say he does not recall many of

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                     Document 350-3         Filed 08/31/2004            Page 7 of 22
2004 WL 1770706                                                                                              Page 7
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

A. Dr. Lakshman's Claims Under Title VII and the            dismiss his Complaint under Title VII for the
Maine Human Rights Act.                                     following discrete acts of alleged discrimination: (1)
                                                            the 1989 open tenure track position awarded to Dr.
 In Counts II-V of his Complaint, Dr. Lakshman              Jellison; (2) the 1993 Assistant Research Professor
contends the University violated Title VII of the Civil     position; (3) the 1997 mycology position awarded to
Rights Act of 1964 [FN13] and the Maine Human               Dr. Annis; (4) claims of discriminatory
Rights Act (MHRA). [FN14] 42 U.S.C. § § 2000e-              underpayment from 1989 to July 14, 2001; and, (5)
2000e-17; 5 M.R.S.A. § §            4551-4634. More         claims of failure to promote from 1989 to July 14,
specifically, he alleges (1) because of his race, color,    2001. The single remaining discrete act not barred by
ethnicity, national origin, and/or gender, the              the federal statute of limitations is the reconfiguration
University paid him less than similarly situated            of Dr. Lakshman's job description, a process that
individuals; and, (2) the University failed to promote      began before July 14, 2001, but completed in
him on the same improper grounds. The University            February, 2002.
posits two defenses: (1) it contends that any claims
based on "discrete incidents" prior to July 24, 2001        b. The MHRA Statute of Limitations.
are barred by the statute of limitation; and, (2) Dr.
Lakshman has failed to establish his prima facie case        [2] A similar analysis applies to the Maine Human
to refute the University's explanation of legitimate        Rights Act claim. Under § 4613(C), a MHRA action
non-discriminatory reasons for its actions or to            must "be commenced not more than 2 years after the
demonstrate a discriminatory animus.                        act of unlawful discrimination complained of." 5
                                                            M.R.S.A. § 4613(C). The critical date for the MHRA
1. Statute of Limitations.                                  is the date the complaint was filed in court, not the
                                                            date the complaint was filed with the MHRC.
a. The Title VII Statute of Limitations.                    Compare 5 M.R.S.A. § 4613(C) ("[t]he action must
                                                            be commenced not more than two years after the
 *5 [1] Section 2000e-5(e)(1) requires a plaintiff to       act..."); with 42 U.S.C. § 2000e-5(e)(1) ("A charge
file any charge with the Equal Employment                   under this section shall be filed ... within three
Opportunity Commission within 180 days "after the           hundred days after the alleged unlawful employment
alleged unlawful employment practice occurred"              practice occurred ..."). Morrison v. Carleton Woolen
before filing the action in court. [FN15] 42 U.S.C. §       Mills, 108 F.3d 429, 438 (1st Cir.1997); Pouliot v.
2000e-5(e)(1); see also National R.R. Passenger             Fairfield, 184 F.Supp.2d 38, 52-53 (D.Me.2002).
Corp. v. Morgan, 536 U.S. 101, 104, 122 S.Ct. 2061,
153 L.Ed.2d 106 (2002). In "deferral states,"                The two year statute of limitations in Maine backs
including Maine, where the state has its own anti-          up the date for discrete acts to February 23, 2001,
discrimination laws and agency, that period is              two years prior to the date the action was commenced
extended to 300 days. Id.; Maarrero v. Goya of P.R.,        in state court. As such, in addition to the rewriting of
Inc., 304 F.3d 7, 13 (1st Cir.1998); Paquin v. MBNA         the job description, the events surrounding and
Marketing Systems, Inc., 233 F.Supp.2d 58, 62               subsequent to the March 8, 2001 Peer Review
(D.Me.2002); Hunter v. Siemens Medical Solutions            Committee recommendations are also captured and
Health Services Corp., 2003 WL 21087010, *8 n. 4            may be considered. Any separate events before
(D.Me.2003). In National Railroad, the Supreme              February 23, 2001 may not form the basis for Dr.
Court concluded that "[e]ach discrete discriminatory        Lakshman's MHRA cause of action for discrete acts
act starts a new clock for filing charges alleging that     of discrimination.
act. The charge, therefore, must be filed within the ...
300 day time period after the discrete discriminatory       2. Remaining Discrete Act Claim: McDonnell
act occurred." National Railroad, 536 U.S. at 113.          Douglas Analysis.
Dr. Lakshman filed complaints with the Maine
Human Rights Commission and the EEOC on May                  *6 The remaining discrete act claim focuses upon the
10, 2002. Under federal law, therefore, Dr.                 University's response to Dr. Lakshman's request for a
Lakshman's claims of discrimination due to "discrete        raise and promotion, a request that originated in
acts" that occurred before July 14, 2001 are time           1998. [FN17] Dr. Lakshman contends the
barred. [FN16]                                              University's February, 2002 decision to require him
                                                            to work for two, not one, faculty and to receive
 Tracking Dr. Lakshman's recitation of his history of       $45,000 for ten months work was grounded on its
discrimination with the University, this Court must         improper biases. Even considering the out of time

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3          Filed 08/31/2004           Page 8 of 22
2004 WL 1770706                                                                                             Page 8
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

acts as background evidence of discriminatory               roughly equivalent and the protagonist similarly
motive, this Court concludes that the evidence is           situated." Id. An exact correlation "is neither likely
insufficient to allow the conclusion that the               nor necessary, but the cases must be fair congeners.
University's actions violated the protections of Title      In other words, apples should be compared to
VII and the MRHA.                                           apples." Id.; see also Marcoux v. Maine, 797 F.2d
                                                            1100, 1107 (1st Cir.1986) (noting that the plaintiff
 Although Dr. Lakshman alleges intentional                  does not have to show her job was "perfectly
discrimination in his Complaint, there is no direct         congruent" with that of her male counterpart in order
evidence of intentional discrimination in this record.      to succeed on a claim of sex-based wage
[FN18] The Court views his allegations under the            discrimination).
lens of disparate treatment and will employ the
familiar burden-shifting framework enunciated in             *7 [3] Dr. Lakshman has cleared the first two
McDonnell Douglas Corp. v. Green, 411 U.S. 792,             hurdles: he is a member of a protected class and he
93 S.Ct. 1817, 36 L.Ed.2d 668 (1973). Under                 has performed his job in keeping with the
McDonnell Douglas, the plaintiff bears the initial          University's expectations. He stumbles, however, at
burden to establish a prima facie case of                   the third hurdle: that he has been paid less than
discrimination. Id. at 802.                                 members outside his protected class holding the same
                                                            position. To sustain his burden of proof, Dr.
 Dr. Lakshman seeks to satisfy his burden under two         Lakshman has presented a statistical analysis
separate theories of discrimination: unequal pay and        comparing his salary to the salaries of other Ph.D.'s in
failure to promote. Turning first to the unequal pay        the College of Natural Sciences, Forestry and
claim, Dr. Lakshman's argument is based on the              Agriculture. The study reveals that in 2003, Dr.
assumption that the McDonnell Douglas burden-               Lakshman was paid $45,000; the average salary for
shifting framework applies. [FN19] To sustain his           Ph.D.'s (excluding recent post-doctoral hires) was
initial burden under the McDonnell Douglas analysis,        $62,180 and the average salary for Ph.D.'s who began
Dr. Lakshman must show that: (1) he is a member of          work, as Dr. Lakshman did, in 1986 was $72,078. In
a protected class; (2) he performed his job in keeping      the year 2001, the average salary for non-faculty
with the University's expectations; and, (3) he was         research professionals was $44,852, higher than Dr.
paid less than members outside his protected class          Lakshman's salary of $36,326. During most of his
who held the same position. Rathbun v. Autozone,            time at the University, Dr. Lakshman has been the
Inc., 361 F.3d 62, 77 (1st Cir.2004). Upon sustaining       only non-Caucasian in his Department and, therefore,
his initial burden, the burden shifts to the University     the individuals comprising the comparison group
to articulate a legitimate, non-discriminatory reason       would be members outside one or more of his
for the pay disparity. Watson v. Fort Worth Bank &          protected classifications.
Trust, 487 U.S. 977, 986, 108 S.Ct. 2777, 101
L.Ed.2d 827 (1988). If the University carries its            [4][5] Where gross statistical disparities can be
burden of production, the burden then shifts back to        shown, they alone may in a proper case constitute
Dr. Lakshman to demonstrate by a preponderance of           prima facie proof of a pattern or practice of
the evidence that the legitimate reasons offered by         discrimination. Hazelwood School Dist. v. United
the University were a pretext for discrimination.           States, 433 U.S. 299, 307- 08, 97 S.Ct. 2736, 53
Watson, 487 U.S. at 986; Rathbun, 361 F.3d at 71-72         L.Ed.2d 768 (1977); Teamsters v. United States, 431
& 77-80; Malloy v. Blanchard, 115 F.3d 86, 91 (1st          U.S. 324, 339, 97 S.Ct. 1843, 52 L.Ed.2d 396 (1977).
Cir.1997).                                                  However, in considering the impact of statistics, the
                                                            First Circuit recently cautioned that the statistical
 Although production of the plaintiff's prima facie         analysis "must still cross a threshold of dependability
case is "not onerous," Watson, 487 U.S. at 986, the         ." Rathbun, 361 F.3d at 79. The probative worth of
First Circuit has stated that the plaintiff's claim for     statistical testimony must be evaluated in light "of the
salary disparity must "identify and relate specific         methodology employed, the data available, and the
instances where person situated similarly in all            factual mosaic unique to the case at hand." Id.
relevant aspects were treated differently." Malloy,         (quoting Freeman v. Package Machinery Co., 865
115 F.3d at 91 (quoting Dartmouth Review v.                 F.2d 1331, 1342 n. 5 (1st Cir.1988)); see also Schuler
Dartmouth College, 889 F.2d 13, 19 (1st Cir.1989)).         v. Polaroid Corp., 848 F.2d 276, 279 (1st Cir.1988)
As the First Circuit explained in Dartmouth Review,         (noting plaintiff failed at prima facie stage to present
the test is "whether a prudent person, looking              evidence about "the size of the pool of potentially
objectively at the incidents, would think them              affected employees, the age of kind of employee

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                       Document 350-3         Filed 08/31/2004            Page 9 of 22
2004 WL 1770706                                                                                                Page 9
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

likely in the pool, the nature of the work force ..., or      F.3d 31, 39 (1st Cir.2003); Rivera-Aponte v. Rest.
the way in which these employees were treated that            Metropol # 3, Inc., 338 F.3d 9, 11 (1st Cir.2003). In
would permit a fact finder to find actionable age             the Court's view, Dr. Lakshman has not demonstrated
discrimination."). In Rathbun, the First Circuit found        that the University's decision to pay faculty members
the failure to determine the extent to which the              more than non-faculty research scientists was
statistical disparities were attributable to factors other    motivated by discriminatory animus against Dr.
than gender to be a "significant shortcoming."                Lakshman. On this point, the University is entitled to
Rathbun, 361 F.3d at 79. Dr. Lakshman's statistical           summary judgment.
analysis was performed by Dr. Dennis McConnell, a
University economics professor, and, therefore, is not         The analysis cannot, however, stop there. In addition
the "rudimentary analysis" conducted by the party's           to his broader claim of unequal pay, Dr. Lakshman
counsel that troubled the Rathbun Court. Id.                  has a more focused point. Even when only research
                                                              scientists are considered, Dr. Lakshman has
 Nevertheless, the study does not sustain Dr.                 presented evidence that he was underpaid. Dr.
Lakshman's prima facie burden. First, for his more            McConnell's study confirmed that in 2001, Dr.
significant conclusions, Dr. McConnell included all           Lakshman was being paid $36,326 compared with an
Ph.D. holders in the College, whether they were               average of $44,852 among research scientists.
research scientists or teaching faculty. [FN20]               Following the initiation of a pay inequity study in
Second, Dr. McConnell considered only the                     2001, the University ended up increasing Dr.
individual's degree and date of hire. Third, he failed        Lakshman's salary to $45,000 for ten months work,
to consider race or gender, both essential components         allowing him to earn an additional $9,000 for the
of Lakshman's claim. Finally, Dr. McConnell omitted           remaining two months from grant sources. Dr.
numerous other factors, which could have explained            Lakshman has also provided evidence that allows this
the statistical disparity including the type of work          Court to infer most, if not all, research scientists were
performed, the Ph.D. holders' responsibilities, skills        not members of legally protected classes, that they
required for the position, pre- or post-employment            were performing substantially the same work, and
achievement and distinction, generation of revenue,           that he was paid significantly less than his fellow
affirmative action, or competition. This Court simply         research scientists. In sum, Dr. Lakshman has
cannot conclude from Dr. McConnell's generalized              sustained his prima facie burden: (1) he is a member
study that it compared Dr. Lakshman's salary with the         of a protected class; (2) he performed his job in
salaries of individuals who have held "the same               keeping with University expectations; and, (3) he was
position." Rathbun, 361 F.3d at 77.                           paid less than members outside his protected class
                                                              who held the same position.
 *8 Assuming, arguendo, that Dr. Lakshman
sustained his burden to show a prima facie case, the           In response, to meet its burden of production, the
burden shifts to the University to demonstrate a              University states it was Dr. Lakshman's late decision
legitimate, non-discriminatory reason for the                 to elect the research scientist career ladder that
discrepancy between Dr. Lakshman's salary and the             explains his lagging salary. The University says it did
salaries of other similarly situated individuals. The         not originally anticipate he would remain
University contends that Dr. Lakshman was hired as            permanently in the career track for a research
a non-tenure track position and his lower salary is           scientist and, therefore, did not move him up that
attributable to his career path, not the University's         career ladder. It claims after it came upon this
discriminatory animus. At least as regards the                realization in 1993, it consistently promoted Dr.
inclusion of higher paid tenured faculty in the               Lakshman and increased his salary. It points out it
statistical sample, the University's response sustains        never refused Dr. Lakshman a request for a
its burden of production to show a legitimate, non-           promotion or increase in pay in that career ladder and
discriminatory reason for the discrepancy. In this            ultimately, he became a Senior Scientist, the highest
response, the University has sustained its burden of          MAFES career category. This Court concludes that
production.                                                   the University has sustained its burden of production
                                                              to articulate "a legitimate, nondiscriminatory reason
 Once the University met its burden of production,            for the pay disparity." Rathbun, 361 F.3d at 78.
the inference of discrimination fades away and the
burden returns to the plaintiff to show that the               *9 [6] With this, the burden returns to Dr. Lakshman
employer's explanation is a pretext for unlawful              "to prove ... that the legitimate reasons offered by the
discrimination. Che v. Mass. Bay Transp. Auth., 342           (employer) were not its true reasons, but were a

                               Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3         Filed 08/31/2004            Page 10 of 22
2004 WL 1770706                                                                                             Page 10
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

pretext for discrimination." Burdine, 450 U.S. at 253.      Campbell's failure to respond for over a year to his
In the words of Mesnick, to this end, "many veins of        promotion and salary requests. Although perhaps
circumstantial evidence ... may be mined." Mesnick,         insensitive, there is no evidence the offensive
950 F.2d at 824. These "include--but are by no means        comments were reflected in a University decision.
limited to--evidence of differential treatment,             Apart from the salary disparity, there is no evidence
evidence of discriminatory comments, statistical            at all of any differential treatment among research
evidence, and comparative evidence." Rathbun, 361           scientists, much less evidence of differential
F.3d at 72. Independent evidence of discriminatory          treatment based on prohibited factors. There is no
animus is not required and in the proper case, the trier    claim of the more obvious forms of non-salary-based
may "infer the ultimate fact of discrimination from         academic discrimination, such as denial of specific
components of the plaintiff's prima facie showing           projects, laboratory access, grant opportunities,
combined with compelling proof of the pretextual            publication credit, further educational chances,
nature of the employer's explanation." Id. In the           monetary allocations to projects, or other non-
context of this summary judgment motion, Dr.                financial forms of individual recognition.
Lakshman must offer "some minimally sufficient
evidence, direct or indirect, both of pretext and of the     *10 Given Dr. Lakshman's educational and research
employer's discriminatory animus to prevail in the          achievements, the Court is left to puzzle as to the
face of a properly drawn Rule 56 motion." Mesnick,          cause of an unusual degree of administrative inertia.
950 F.2d at 825; Rathbun, 361 F.3d at 72; Thomas v.         But, what is lacking is any probative evidence this
Eastman Kodak Co., 183 F.3d 38, 62 (1st Cir.1999).          institutional inaction was improperly motivated.
                                                            [FN21] Dr. Lakshman may well have been taken for
 [7] Once the pay disparity is limited only to research     granted or neglected, but this Court cannot conclude
scientists, the issue becomes closer. First, Dr.            on this record the University's inaction was because
Lakshman has shown he was the sole minority                 of improper animus. The University's motion for
among research scientists within his Department for         summary judgment on the allegation of unequal pay
most of his term of employment. In 1993, when the           must be granted.
University acknowledges it knew Dr. Lakshman had,
in its view, decided upon the research scientist career      [8] The sole remaining failure to promote claim is
route, it promoted him into the position of assistant       based on Dr. Lakshman's 1998 request for promotion
scientist, a position that requires only a bachelors        to Senior Scientist and the University's 2002 decision
degree. Although he was advanced quickly into the           to grant him the title, but to alter his job description.
position of Associate Scientist in 1995, this position      To establish a prima facie case, Dr. Lakshman must
required only a masters degree. By the year 2000,           show: (1) that he is a member of a protected class; (2)
when compared with other Ph.D.s among research              that an adverse employment action occurred; (3) that
professionals, Dr. Lakshman's salary was $33,785            he was at least arguably qualified for the position he
compared with an average of $47,175. The next year,         sought; and, (4) that the position was filled by others
2001, the disparity was reduced from $44,852 to $           whose credentials were more or less comparable to
36,326, but it remained substantial. It was not until       his. Dr. Lakshman's failure to promote claim is
2002, when the University increased Dr. Lakshman            misplaced, since there is no evidence in this record
to $45,000 for ten months work that his salary              satisfying the last criterion. Dr. Lakshman was
became comparable to other Ph.D. level research             ultimately promoted to the position of Senior
scientists. The disparity is even odder, since the          Scientist and he makes no contention that the Senior
University seems to agree that Dr. Lakshman has             Scientist position was awarded to someone else,
been an excellent researcher and presents no evidence       much less that their credentials were comparable to
at all of any untoward behavior during his entire           his. Dr. Lakshman seems to be asserting that the
course of employment. The extreme degree of the             University's decision to alter his job description and
disparity, the extended period it persisted, Dr.            salary was in retaliation for his discrimination
Lakshman's acknowledged competence, and his value           complaints, a contention this Court addresses later in
as a researcher are all powerful evidence in his favor.     this Order.

 What is less persuasive is evidence that this salary       3. Desert Palace Analysis: Title VII.
disparity was precipitated by discriminatory animus
or that the University's reason for the disparity was        [9] At oral argument, Dr. Lakshman clarified that, in
pretextual. To this point, Dr. Lakshman points to the       addition to the McDonnell Douglas burden shifting
discriminatory comments he received at work and Dr.         framework, he is pressing a Desert Palace mixed

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                   Document 350-3          Filed 08/31/2004            Page 11 of 22
2004 WL 1770706                                                                                             Page 11
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

motive analysis in his Title VII claim. [FN22] Desert       statute of limitations defense to the § 1981 claims
Palace, Inc. v. Costa, 539 U.S. 90, 123 S.Ct. 2148,         and has reiterated the same contentions to the merits
156 L.Ed.2d 84 (2003). In doing so, he gains nothing.       of each legal theory.
As the First Circuit stated in Hillstrom v. Best
Western TLD Hotel, "even in mixed-motive cases,             1. Statute of Limitations: 42 U.S.C. § 1981.
plaintiffs must present enough evidence to permit a
finding that there was differential treatment in an          42 U.S.C. § 1981 provides in pertinent part:
employment action and that the adverse employment              Statement of Equal Rights. All persons within the
decision was caused at least in part by a forbidden            jurisdiction of the United States shall have the
type of bias." 354 F.3d 27, 31 (1st Cir.2003). This is         same right in every State and Territory to make and
true, even though as Desert Palace taught,                     enforce contract ... as enjoyed by white citizens ....
circumstantial as well as direct evidence may be used         42 U.S.C. § 1981(a). [FN25] Section 1981 forbids
to satisfy this burden. Desert Palace, 539 U.S. at 97-      racial discrimination in the making and enforcement
101.                                                        of private contracts, but contains no express statute of
                                                            limitations. See generally 42 U.S.C. § 1981(a) . In
 In his argument, Dr. Lakshman baldly asserts there is      1987, the United States Supreme Court charged
evidence from which a jury could directly conclude          federal courts to select the most appropriate or
and evidence from which a jury could infer that the         analogous state statute of limitations to apply to §
University's employment actions were the result of          1981 claims. Goodman v. Lukens Steel Co., 482 U.S.
racial or ethnic bias. He then string cites ("see, e.g.     656, 661, 107 S.Ct. 2617, 96 L.Ed.2d 572 (1987).
inter alia") four paragraphs to demonstrate direct          This Court concluded that the six-year statute of
evidence [FN23] and thirty-three paragraphs to              limitations in Maine, 14 M.R.S.A. § 752, should
demonstrate circumstantial evidence. [FN24] Based           apply to § 1981 actions. De Salle v. Key Bank of
on Dr. Lakshman's argument, this Court concludes            Southern Maine, 685 F.Supp. 282, 285 (D.Me.1988).
that the evidence is insufficient to find the               See also Small v. Inhabitants of Belfast, 796 F.2d
University's actions were the result of mixed motive        544, 545-49 (1st Cir.1986) (applied six-year statute
and grants the University's motion for summary              of limitations to federal civil rights claim under
judgment on the Ti tle VII claim to the extent it is        section 1983); McKenney v. Greene Acres Manor,
grounded on a Desert Palace analysis. Davis v.              650 A.2d 699, 701 (Me.1994) (applied six-year
Emery Worldwide Corp., 267 F.Supp.2d 109, 120 n.            statute of limitations to § 1983 action).
2 (D.Me.2003) (stating "because no possibility of a
mixed motive for the defendant's actions with respect        After Goodman, on December 1, 1990, Congress
to this incident is raised by the evidence in the           passed 28 U.S.C. § 1658, a general statute of
summary judgment record... Desert Palace ... does           limitations applicable to all federal statues enacted
not apply.")                                                after that date. It provides in pertinent part:
                                                               Except as otherwise provided by law, a civil action
4. Dr. Lakshman's Claims of Hostile Work                       arising under an Act of Congress enacted after the
Environment.                                                   date of enactment of this section may not be
                                                               commenced later than 4 years after the cause of
 *11 In Counts I through V, Dr. Lakshman initially             action accrues.
alleged discrimination in the form of a hostile work          28 U.S.C. § 1658. On May 3, 2004, the United
environment on the basis of race, color, ethnicity,         States Supreme Court resolved the question of
national origin, and gender pursuant to the MHRA            whether the four-year statute of limitations in 28
and Title VII. At oral argument, Dr. Lakshman               U.S.C. § 1658 applies to § 1981 claims. In Jones v.
expressly waived his argument of a hostile work             R.R. Donnelley & Sons Co.,-- U.S.--, --- U.S. ----,
environment under Title VII and the MHRA. The               124 S.Ct. 1836, --- L.Ed.2d ---- (2004), the Supreme
University's motion for summary judgment on each            Court held that the four year statute of limitations in
such claim is, therefore, granted.                          § 1658 applied to the petitioners' hostile work
                                                            environment, wrongful termination, and failure-to-
B. Dr. Lakshman's § 1981 Claims.                            transfer claims, because they were made possible by
                                                            the 1991 amendments to § 1981. Applying Jones to
 In addition to his causes of action under Title VII        Dr. Lakshman's § 1981 claim, his hostile work
and the MHRA, Dr. Lakshman has initiated claims of          environment, failure to promote, and unequal pay
discrimination and hostile work environment under           claims would not have stated causes of action under
42 U.S.C. § 1981. The University has asserted a             the original version of § 1981, since they occurred

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3         Filed 08/31/2004           Page 12 of 22
2004 WL 1770706                                                                                           Page 12
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

after the formation of Dr. Lakshman's contract with         to § 1981. Dr. Lakshman failed to respond to the
the University. Patterson v. McLean Credit Union,           University's argument on the hostile work
491 U.S. 164, 177-78, 109 S.Ct. 2363, 105 L.Ed.2d           environment claims and, therefore, has waived the
132 (1989). Because his § 1981 claims were "made            right to object. Grenier v. Cyanamid Plastics, 70 F.3d
possible" by the 1991 amendment, § 1658's four-             667, 687 (1st Cir.1995) (noting that "[b]y failing to
year statute of limitations must apply.                     make this argument in his opposition to summary
                                                            judgment, Grenier has failed to preserve this claim.")
 *12 [10] The critical date, therefore, for Dr.             Nevertheless, under Fed.R.Civ.P. 56(e), the court
Lakshman's § 1981 claims is February 23, 1999, four         may grant summary judgment if the adverse party
years prior to the date Dr. Lakshman filed his              fails to respond, only if summary judgment is
complaint in Maine Superior Court. Events occurring         "appropriate" and at oral argument, Dr. Lakshman
prior to that time cannot form the basis of his § 1981      stated, in contrast to the Title VII and MHRA hostile
discrete acts claims, but may be considered as              work environment claims, he wished to pursue the §
background evidence in support of a timely claim;           1981 hostile work environment allegation. The First
events occurring prior to that time may be considered       Circuit has concluded that, even in the absence of a
as part of the hostile work environment claim so long       response by the opposing party, the district court
as any act contributing to the hostile environment          "must review the motion and the supporting papers to
took place within the statutory period.                     determine whether they establish the absence of a
                                                            genuine issue of material fact." Jaroma v. Massey,
2. Disparate Treatment Under § 1981.                        873 F.2d 17, 20 (1st Cir.1989).

 [11] Dr. Lakshman's § 1981 disparate treatment              *13 [12][13][14] Even if he had responded, Dr.
claims must be considered under the same analytic           Lakshman's hostile work environment claim falls far
framework as his Title VII claims, limited however to       short of his burden to establish a prima facie case. To
considerations of race, ethnicity, and national origin,     satisfy his burden, Dr. Lakshman must demonstrate
excluding gender. Ayala-Gerena v. Bristol Myers-            that (1) he is a member of a protected class; (2) that
Squibb Co., 95 F.3d 86, 95 (1st Cir.1996). The              he was subjected to unwelcome harassment; (3) that
narrow question is whether reaching back to February        the harassment was based on his race, ethnicity,
23, 1999 changes the result. It does not. There is still    color, or national origin; (4) that the harassment was
no direct evidence of intentional discrimination; Dr.       sufficiently severe or pervasive so as to alter the
Lakshman has still failed to sustain his burden to          conditions of his employment and create an abusive
make a prima facie showing; and, the University has         work environment; (5) that the objectionable conduct
still presented a legitimate, non-discriminatory reason     was both objectively and subjectively offensive, such
for its actions, which Dr. Lakshman has still failed to     that a reasonable person would find it hostile or
demonstrate are pretextual. McDonnell Douglas, 411          abusive and the victim in fact did perceive to be so;
U.S. at 802.                                                and, (6) that some basis for employer liability has
                                                            been established. O'Rourke v.. City of Providence,
 The Title VII analysis for unequal pay also applies        235 F.3d 713, 728 (1st Cir.2001). The environment
here. The more general claim of unequal pay as              must be sufficiently hostile or abusive in light of all
against all Ph.D. holders fails at the prima facie stage    the circumstances, including the "frequency of the
for the same reasons. Under § 1981, the unequal pay         discriminatory conduct; its severity; whether it is
claim for Dr. Lakshman's work as a research scientist       physically threatening or humiliating, or a mere
can reach back to February 23, 1999, instead of the         offensive utterance; and whether it unreasonably
more limited allowable period under Title VII. The          interferes with an employee's work performance."
additional time does not, however, affect the result.       Faragher v. City of Boca Raton, 524 U.S. 775, 787,
In the § 1981 claim for unequal pay, he has made his        118 S.Ct. 2275, 141 L.Ed.2d 662 (1998); see also
prima facie case; the University has met its burden of      Reed v. MBNA Marketing Sys., 231 F.Supp.2d 363,
production; and, he has failed to show that the             371 (D.Me.2002). Unlike the constraint imposed on a
University's reasons were pretextual.                       discrete act claim, the Court may consider "the entire
                                                            scope of a hostile wo rk environment claim, including
3. Hostile Work Environment Under § 1981.                   behavior alleged outside the statutory time period, ...
                                                            so long as any act contributing to that hostile
 In Count I, Dr. Lakshman alleges discrimination in         environment takes place within the statutory period."
the form of a hostile work environment on the basis         Morgan, 536 U.S. at 104.
of race, color, ethnicity, and national origin pursuant

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3         Filed 08/31/2004           Page 13 of 22
2004 WL 1770706                                                                                            Page 13
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

 Dr. Lakshman contends the hostile work                     Savings Bank, FSB v. Vinson, 477 U.S. 57, 106 S.Ct.
environment arose from the following incidents: (1)         2399, 91 L.Ed.2d 49 (1988) (employee forcibly
being asked if he was going back to India; (2) being        raped, repeated demands for sexual favors, fondled in
told he was an unhappy person; (3) being told he            front of other employees); O'Rouke, 235 F.3d 713
would not be a "very good teacher" because of his           (female firefighter hired under newly implemented
accent; (4) being told his chances for promotion            affirmative action policy subjected to overtly sexual
would have been better if he had been a "Native             behavior, stacks of pornographic magazines,
Indian"; (5) being told he had to work "ten times           systematic and sustained exclusion and isolation,
harder to be on a par with Americans"; and, (6) being       vandalism,        discipline);Hernandez-Loring        v.
told that if he pursued the claim against the               Universidad Metropolitana, 233 F.3d 49 (1st
University, it would become a "very, very                   Cir.2003) (female faculty member pawed and
uncomfortable place" to work. [FN26]                        lasciviously addressed by chancellor, repeatedly
                                                            propositioned by head of academic committee);
 [15] Even accepting Dr. Lakshman's version of the          White v. New Hampshire Dep't of Corrections, 221
evidence in a light most favorable to him, these            F.3d 254 (1st Cir.2000) (daily, constant sexual
comments simply do not rise to a level of harassment        references; explicit remarks and innuendo concerning
and pervasiveness necessary to sustain a hostile work       plaintiff); Danco, Inc. v. Wal-Mart Stores, Inc., 178
environment cause of action. In terms of frequency,         F.3d 8 (1st Cir.1999) (racial graffiti, physical threat;
the record indicates these comments occurred over a         racial slur over three month interval); Lipsett v. Univ.
fifteen-year period. Although there is no "absolute         of Puerto Rico, 864 F.2d 881 (1st Cir.1988) (female
numerical standard" by which to determine whether           medical resident subjected to three year period of
harassment has created a hostile environment, Donco,        ongoing sexual harassment, propositioning, and
Inc. v. Wal-Mart Stores, Inc., 178 F.3d 8, 16 (1st          academic discipline). Viewing the evidence in a light
Cir.1999) (quoting Vance v. Southern Bell Telephone         most favorable to Dr. Lakshman, this Court cannot
& Telegraph Co., 863 F.2d 1503, 1511 (11th                  conclude there is sufficient evidence of a hostile
Cir.1989), fewer than ten offensive comments over a         work environment at the University to withstand its
fifteen year period is hardly evidence of "pervasive"       motion for summary judgment on this cause of
harassment. None was physically threatening. Dr.            action.
Lakshman may have found the comments about
returning to India and his accent humiliating, but it is    C. Dr. Lakshman's Claims of Retaliation Under Title
difficult to conclude that these were more than             VII And MHRA.
offensive utterances. Significantly, there is no
showing these comments actually interfered with Dr.          In Counts VII and VIII, Dr. Lakshman alleges that as
Lakshman's ability to perform his job. Wills v. Brown       a result of filing complaints with the MHRC and the
Univ., 184 F.3d 20, 26 (1st Cir.1999) (noting               EEOC, members of his Department at the University
"[b]roadly speaking, a hostile environment claim            retaliated against him, creating a hostile work
requires the victim to have been subject to                 environment in violation of 42 U.S.C. § 2000e-3(a)
harassment severe enough to compromise the victim's         and 5 M.R.S.A. § 4633. [FN27] In particular, Dr.
employment or educational opportunities ... "). To the      Lakshman contends the University retaliated by
contrary, Dr. Lakshman's complaint against the              implementing a dramatic revision of his job
University is based in part on its failure to recognize     responsibilities, effectively demoting him in fact
his superior performance as an employed scientist. In       while promoting him in name, and by increasing his
Farragher, the Supreme Court noted that the conduct         salary to an amount lower than it otherwise would
forming the basis for a hostile work environment            have done.
claim must be "extreme to amount to a change in the
terms and conditions of employment" ' and cautioned          [16] Even where the underlying alleged
against interpreting Title VII as a "general civility       discrimination may not be viable, a claim for
code." Farragher, 524 U.S. at 788.                          retaliation may survive. Benoit v. Technical Mfg.
                                                            Corp., 331 F.3d 166, 174 (1st Cir.2003); Mesnick v.
 *14 The cases where courts have found a hostile            General Electric, 950 F.2d 816, 827 (1st Cir.1991);
work environment are simply different in degree and         O'Meara v. Mineta, 2003 U.S. Dist. LEXIS 17444, *
kind from the facts in this case. Harris v. Forklift        31. To make out a prima facie case of unlawful
Systems, 510 U.S. 17, 114 S.Ct. 367, 126 L.Ed.2d            retaliation, whether under Title VII or the MHRA, an
295 (1993) (employee repeatedly insulted, made the          employee must show: (1) he engaged in protected
target of sexual innuendo, denigrated); Meritor             activity; (2) he suffered an adverse employment

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                   Document 350-3          Filed 08/31/2004           Page 14 of 22
2004 WL 1770706                                                                                           Page 14
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

action after or contemporaneous with such activity;         discrimination in November/December 2000 and it is
and, (3) there existed a causal link between the            shortly thereafter, he is told of the Campbell/Hunter
protected activity and the adverse job action. Benoit,      "disincentive" remark. Dr. Campbell repeatedly
331 F.3d at 175; Wyatt v. City of Boston, 35 F.3d 13,       referred to Dr. Lakshman as an "unhappy person." He
16 (1st Cir.1994); Bishop, 143 F.Supp.2d at 62. There       formally filed complaints with the EEOC and MHRC
is no doubt that Dr. Lakshman's filing of a complaint       on February 21, 2001. The Peer Review Committee
with the EEOC and the MHRC constituted "protected           recommended his promotion on March 8, 2001, and
activity" and, therefore, this Court will turn to the       on March 21, 2001, Drs. Campbell and Hunter wrote
latter two criteria.                                        to him, informing him that his job description was
                                                            going to change. Instead of working solely for Dr.
 *15 The First Circuit has defined "adverse                 Tavantzis, as he had since 1986, he was now going to
employment action" as including a variety of                work under three faculty members. Dr. Lakshman
conduct, including "demotions, disadvantageous              considered this change a major transformation, since
transfers or assignments, refusals to promote,              his scientific energies and talents would be dissipated
unwarranted negative job evaluations, and toleration        and he would become more a technician than a
of harassment by other employees." Hernandez-               scientist. Shortly, Dr. Jellison, one of those faculty
Torres v. Intercontinental Trading, Inc., 158 F.3d 43,      members, met with him and informed him, she knew
47 (1st Cir.1998). Dr. Lakshman made his first              he was an "unhappy person" and she was going to
assertion of Title VII or MHRA rights in either             closely monitor him for misbehavior or bad behavior
November or December, 2000, when he visited Dr.             in her lab. The University has agreed that there has
Silver, the University's Equal Employment                   never been any indication of bad behavior on the part
Opportunity Director. [FN28] This was roughly at the        of Dr. Lakshman during his employment there.
same time Dr. Campbell had referred his promotion
to the Peer Review Committee and had                         *16 During the summer and fall of 2001, Dr.
commissioned a salary study. According to Dr.               Tavantzis repeatedly warned Dr. Lakshman against
Lakshman, on December 14, 2000, he met with Dr.             maintaining his legal action. He told him his fellow
Campbell, then the Department Chair, and informed           faculty members have been making remarks about
him of his concerns about pay inequity and                  Dr. Lakshman that have made it difficult for him to
discrimination. Dr. Lakshman asserts that after that        work with them. He also said that if he continued
meeting, Dr. Campbell continually referred to him as        with his legal action, it would be very difficult for
an "unhappy person," and Drs. Campbell and Hunter           him at the University, because "if you fight the
stated that they would create "disincentives" to force      people you work with, no one is happy." Finally, Dr.
Dr. Lakshman from the University.                           Tavantzis told Dr. Lakshman that if the matter
                                                            proceeded to court, he would testify against him and
 [17] Turning first to the salary issue, Dr. Lakshman       would fail to recall conversations with Dr. Lakshman.
earned $33,735 in 2000. As a result of his request for      After the University altered his job description to
a raise, the University ended up increasing his salary      require him to report to two faculty members, Dr.
to $45,000 in February, 2002 for ten months work            Lakshman found that he was monitored on a daily
and allowing him the opportunity to earn an                 basis. When he questioned this change of practice, he
additional $9,000 in grant money for the remaining          was told that Dr. Campbell had expressly demanded a
two months. In his Memorandum, Dr. Lakshman fails           daily report on Dr. Lakshman.
to clarify whether he considers his raise in 2002 to be
an adverse employment action. [FN29] This Court              The demotion claim deserves scrutiny. The First
concludes there is no evidence to support the               Circuit has noted that "there are many sources of
contention that the University's 2002 decision to           circumstantial evidence that, theoretically, can
increase Dr. Lakshman's salary to $45,000 for ten           demonstrate retaliation in a way sufficient to leap the
months work was either an adverse employment                summary judgment or directed verdict hurdles."
action or in any way causally linked to his complaints      Mesnick v.. General Electric Co., 950 F.2d 816, 828
of discrimination.                                          (1st Cir.1991). These include: (1) differential
                                                            treatment in the workplace; (2) temporal proximity;
 Turning next to the "demotion" issue, Dr. Lakshman         (3) statistical evidence; and, (4) comments by the
claims that after his discrimination complaints             employer that intimate a retaliatory mindset. Id. Dr.
became known and were formalized, the University            Lakshman has produced evidence of differential
altered his job responsibilities. The timing is             treatment in the University's individualized daily
significant. Dr. Lakshman first complained of               monitoring. The timing also favors Dr. Lakshman.

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                    Document 350-3         Filed 08/31/2004           Page 15 of 22
2004 WL 1770706                                                                                            Page 15
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

His initial informal complaints were in                     burden, Dr. Lakshman must produce evidence that
November/December, 2000, his initial formal filing          the University's animus against him was so strong, it
was in late February, 2001, and the "demotion"              was willing to reorganize the job descriptions of its
decision was made in late March, 2001. He has not           entire research scientist staff to retaliate against him
presented any statistical evidence, but he has              alone. There is simply no evidence in this record to
produced evidence of comments by his employer               support such a sweeping allegation. Weston-Smith v.
indicative of a discriminatory mindset. He has, in this     Cooley Dickinson Hospital, Inc., 282 F.3d 60 (1st
Court's view, sustained his prima facie burden.             Cir.2002) (finding hospital-wide reorganization not
                                                            discriminatory). Dr. Lakshman has failed to produce
 Under the McDonnell Douglas framework, the                 "names, dates, incidents, and supporting testimony"
burden of production shifts to the University to            which would give "rise to an inference of
articulate a legitimate, nondiscriminatory reason for       discriminatory animus" in the department-wide
its actions. This it has done. The University has           alteration the job descriptions of the University's
produced evidence that its division of responsibilities     research scientists. Lipsett, 864 F.2d at 895.
among the scientific staff was part of an overall
reallocation of its resources among a range of              D. Dr. Lakshman's Title IX Claim.
projects, since some MAFES projects had the support
of one scientific support staff while others had none.       Dr. Lakshman's Title IX claim presents a slight twist
Moreover, the changes were applicable to all                on the issues this Court has discussed. In Count VI,
scientific support staff and were not personal to Dr.       he asserts that the University intentionally
Lakshman. To the extent Dr. Lakshman was singled            discriminated against him on the basis of gender: (1)
out, it was only Dr. Lakshman, who received a               by failing or refusing to promote him; (2) by failing
contemporaneous promotion and salary increase. In           to increase his salary; and, (3) by fostering a hostile
fact, the University pointed out that Dr. Lakshman          work environment, based on his gender.
was the last of the scientific staff to work on only one
project. With this series of explanations, the              Title IX of the Education Amendments of 1972
University has met its burden of production.                provides in pertinent part:
                                                              No person in the United States shall, on the basis of
 Under the McDonnell Douglas burden-shifting                  sex, be excluded from participation in, be denied
process, the burden returns to Dr. Lakshman to                the benefits of, or be subjected to discrimination
demonstrate the University's stated reasons were              under any education program or activity receiving
pretextual. Dr. Lakshman can meet this burden                 Federal financial assistance....
"either directly, by persuading the Court that a             20 U.S.C. § 1681.
discriminatory reason more likely motivated the
employer or indirectly, by showing that the                  [19][20] Title IX imposes an obligation on
employer's proffered explanation is unworthy of             educational institutions receiving federal funds to
credence." Texas Dep't of Community Affairs v.              refrain from denying educational opportunities on the
Burdine, 450 U.S. 248, 256, 101 S.Ct. 1089, 67              basis of sex. [FN30] Wills v. Brown Univ., 184 F.3d
L.Ed.2d 207 (1981). In performing its analysis, this        20, 35 (1st Cir.1999). The statute's enforcement
Court is mindful of the First Circuit's preference to       machinery includes an implied private right of action
allow jury resolution of issues of motive and               through which an aggrieved party may seek money
intention. Petitti v. New England Tel. & Tel. Co., 909      damages. Gebser v. Lago Vista Indep. Sch. Dist., 524
F.2d 28, 34 (1st Cir.1990); Rossy v. Roche Products         U.S. 274, 283-84, 118 S.Ct. 1989, 141 L.Ed.2d 277
Inc., 880 F.2d 621, 624 (1st Cir.1989).                     (1998); Frazier v. Fairhaven Sch. Comm., 276 F.3d
                                                            52, 64 (1st Cir.2002). Because relevant legal analysis
 *17 [18] Again, viewing the evidence in a light most       under Title IX is sparse, therefore the Court will
favorable to Dr. Lakshman, the record reveals the           apply Title VII case law by analogy. [FN31] Lipsett,
comments of Drs. Campbell and Hunter about                  864 F.2d at 896; Brown v. Hot. Sexy & Safe Prods.,
"disincentive" and the troublesome evidence about           68 F.3d 525, 540 (1st. Cir.1995).
Dr. Jellison's actions: comments about Dr.
Lakshman's unhappiness, singling him out for                1. Statute of Limitations.
reporting requirements, and most significantly,
stating that he would have to be monitored closely for       [21] Like § 1981, the text of Title IX contains no
"bad behavior" when there is no evidence Dr.                statute of limitations. 20 U.S.C. § 1681. Unlike §
Lakshman ever behaved badly. But, to sustain his            1981, however, Congress has not amended § 1681

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                   Document 350-3          Filed 08/31/2004           Page 16 of 22
2004 WL 1770706                                                                                            Page 16
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

since December 1, 1990 and, therefore, under Jones          than [women] who held the same position").
v. R.R. Donnelly, the applicable Maine state statute of
limitations must apply. Because Title IX redresses          4. Failure To Promote.
sex discrimination, an injury to fundamental
individual rights, this Court concludes it should apply      [23][24] To sustain his burden to demonstrate a
the statute of limitations governing personal injury        prima facie case, Dr. Lakshman must show: (1) he
actions. 14 M.R.S.A. § 752; De Salle, 685 F.Supp. at        was a member of a protected class; (2) he was
285 (applying 6 year statute of limitations to § 1981       qualified for the position; (3) he was not hired despite
claim); Small, 796 F.2d at 545-49 (applying 6 year          his qualifications; and, (4) the job was given to a
statute of limitations to § 1983 claim); McKenney v.        female. Keyes v. Secretary of Navy, 853 F.2d 1016,
Green Acres Manor, 650 A.2d at 701 (applying 6              1023 (1st Cir.1988). Dr. Lakshman's first complaint,
year statute of limitations to § 1983 claims). This         the 1998 Tavantzis recommendation, fails, because
Court will consider only those claims from February         he has not demonstrated that any position actually
20, 1997, forward, including the alleged failures to        existed. In 1998, Dr. Tavantzis recommended Dr.
promote in 1998 and 2000, the failure to award the          Lakshman for a raise and promotion to the position of
mycology position in 1997, the alleged pay                  Senior Scientist, a recommendation that Dr.
disparities from February 20, 1997, onward, and the         Campbell failed to receive, ignored, or forgot about
claim of a hostile work environment.                        for over a year. However, there is no evidence in this
                                                            record that a position as a Senior Scientist actually
2. Hostile Work Environment Claim.                          opened up and was given to a female during that
                                                            interval.
 *18 In his complaint, Dr. Lakshman alleged a hostile
work environment claim under Title IX; however, at           Dr. Lakshman's second complaint relates to the
oral argument, he waived any such claim.                    failure to promote in 2000, when although ultimately
Accordingly, this Court grants the University's             awarded the position of Senior Scientist, he was in
motion for summary judgment on the hostile work             fact demoted by job description. For the same reasons
environment claim in Count VII of the complaint.            set forth above, Dr. Lakshman failed to sustain his
                                                            prima facie burden on this position under Title IX as
3. Pay Disparities.                                         well.

 [22] This Court has previously discussed Dr.                This leaves the 1997 mycology position. This is
Lakshman's allegations of pay disparities under its         more troublesome. The Court is required at this stage
Title VII analysis. Regarding the pay disparity             to view the evidence in a light most favorable to Dr.
between research scientists and faculty, the same           Lakshman. With this in mind, the Court concludes
analysis and conclusion is applicable here: Dr.             that he has met the burden to demonstrate a prima
Lakshman has failed to show a prima facie case; the         facie case: (1) he is male; (2) he was qualified for the
University has sustained its burden of production,          position; (3) he was not hired despite his
and he has failed to demonstrate its reasons are            qualifications; and, (4) the job was given to a female.
pretextual.                                                 This conclusion, however, is not wi thout hesitation.
                                                            Dr. Lakshman never actually applied for the
 Restricting the Rathbun analysis to gender, there is       mycology position.
no evidence that the difference between his wage and
the wages of other research scientists was based on          *19 Although it seems illogical to hold an employer
his gender. Unlike the record for the Title VII claim,      legally responsible for failing to hire someone who
there is no evidence in Dr. Lakshman's Statement of         never applied, it would be equally unreasonable to
Material Facts about the gender of the other research       reward an employer who actively and successfully
scientists, the number of female as opposed to male         discourages potential applicants for legally
researchers, the salary levels for female as opposed to     impermissible reasons. In general, the failure to file a
male research scientists, and whether the differences,      formal application will not bar a plaintiff from
if they exist, can be attributed to factors other than      establishing a prima facie case of discriminatory
gender. Dr. Lakshman has failed to present any              hiring provided the plaintiff "made every reasonable
evidence he was paid less than the female                   attempt to convey his interest in the job to the
researchers. Rathbun, 361 F.3d at 77 (finding to make       employer." Equal Employment Opportunity Comm. v.
out a prima facie case of unequal pay, employee must        Metal Service Co. ., 892 F.2d 341, 348 (3rd Cir.1990)
show, among other things, that "[he] was paid less          (Title VII claim). Again in a Title VII context, the

                             Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                      Document 350-3         Filed 08/31/2004           Page 17 of 22
2004 WL 1770706                                                                                              Page 17
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

Supreme Court concluded that "a nonapplicant can be           her Ph.D. in 1995 and had only two years post-
a victim of unlawful discrimination entitled to make-         doctoral training. Based on Dr. Lakshman's evidence,
whole relief when an application would have been a            there is a factual question as to whether his
useless act serving only to confirm a discriminatee's         qualifications met or exceeded Dr. Annis'
knowledge that the job he wanted was unavailable to           qualifications.
him." Int'l Bd. of Teamsters v. United States, 431
U.S. 324, 367, 97 S.Ct. 1843, 52 L.Ed.2d 396 (1977).           *20 Dr. Lakshman's evidence of the University's
In this case, after he expressed interest in the              improper gender-based motivation comes in three
mycology position to Dr. Tavantzis, Dr. Jellison, the         forms. First, the University had long emphasized the
Chair of the Selection Committee, came to Dr.                 recruitment and hiring of female faculty, an emphasis
Lakshman and said: "If you apply, you won't get it."          pre-dating the 1997 mycology opening. Second, upon
A more forceful and direct discouragement is hard to          being informed by Dr. Tavantzis of Dr. Lakshman's
imagine. Dr. Lakshman can hardly be faulted for               interest in the mycology position, Dr. Jellison
taking Dr. Jellison at her word and failing to file an        actively discouraged him from even submitting an
application, even if he thought he was qualified for          application. Third, Dr. Jellison is the faculty member,
the position.                                                 who in 2002, persisted in describing Dr. Lakshman as
                                                              an "unhappy" person and told him she would monitor
 Once Dr. Lakshman met his prima facie burden, the            him for his illusory "bad behavior." [FN32]
University has the burden of production to articulate
a legitimate, nondiscriminatory reason for its actions.        [25] For Title IX purposes, Dr. Lakshman's
This it has done. First, setting aside for the moment         aggregation of evidence on pretext is fatally flawed.
the discouragement issue, the University asserts it           When the evidentiary circle is examined for gender
could not hire Dr. Lakshman, since he never applied.          alone, its circumference becomes extremely
Second, the University asserts that of the three              circumscribed. There is Dr. Tavantzis' remark in
finalists, two were male. Third, the University states        1989 about a job being marked for a woman and Dr.
that it offered the position to the two of the final three    Gelinas's undated remark that if Dr. Lakshman had
candidates (at least one of whom had to be male),             been a female or "Native Indian," he would have
each of whom turned the University down. Fourth,              been considered for some jobs. But, there is virtually
the University declined to offer the position to the          no evidence in the record that the University's actions
third finalist, based on the interview and evaluation         regarding the mycology position in 1997 were
process. Fifth, the position was then offered to the          motivated by gender bias. To the contrary, although
next candidate, Dr. Annis. Sixth, one of Dr. Jellison's       Dr. Jellison discouraged Dr. Lakshman from
female post-doctoral assistants had applied for the           applying, she similarly discouraged a female research
mycologist position and was eliminated in the first           scientist and two of the final three candidates were
round. Seventh, Dr. Tavantzis believed Dr.                    male. The First Circuit has reminded us that "a slight
Lakshman was not qualified for the appointment.               suggestion of pretext, absent other evidence from
These accumulated facts more than meet the                    which discrimination can be inferred, [does not] meet
University's burden of production.                            [ ] plaintiff's ultimate burden." Weston-Smith, 282
                                                              F.3d at 70 (quoting Zapata-Matos v. Reckitt &
 A more difficult issue remains: whether Dr.                  Colman, Inc., 277 F.3d 40 47 (1st Cir.2002). This
Lakshman has presented evidence that the                      Court concludes the Dr. Lakshman's evidence of sex
University's stated reasons for its actions were              discrimination in the University's 1997 decision to fill
pretextual. The evidence on this score focuses on Dr.         the mycology position is inadequate to withstand
Jellison, who chaired the search committee, and               summary judgment.
whether her discouragement of Dr. Lakshman's
application on the asserted basis of lack of                  E. Dr. Lakshman's Punitive Damages Claim.
qualifications was a pretext for her unstated gender
bias against him. Dr. Lakshman's evidence of his               In its motion, the University states that Dr.
comparative qualifications includes: (1) his Ph.D. in         Lakshman's Complaint "appears to seek an award of
1984 from Cornell University in plant pathology; (2)          punitive damages." Def.'s Mem. at 29. Dr. Lakshman
Dr. Tavantzis' statement that it is "too bad" someone         responded to the University by objecting to the
with Dr. Lakshman's qualifications in mycology                issuance of summary judgment "with respect to
could not be considered; (3) Dr. Seania Annis' degree         punitive damages". Pl.'s Mem. at 40, However, at oral
was in plant pathology, the same discipline as Dr.            argument, Dr. Lakshman waived any punitive
Lakshman's Ph.D.; and, (4) Dr. Annis had received             damages claim. Accordingly, the Court will not

                               Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                  Document 350-3         Filed 08/31/2004           Page 18 of 22
2004 WL 1770706                                                                                         Page 18
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

consider the University's Motion for Summary                       Research Associate, Assistant Scientist,
Judgment on the punitive damages issue; Dr.                        Associate Scientist, and ending with Senior
Lakshman is barred from asserting such a claim.                    Scientist, the highest rung on the non-faculty
                                                                   research scientist ladder.
V. Conclusion.

 Dr. Lakshman's complaint consists of an unusually                 FN6. The Plaintiff uses two different dates
complex series of actions, requiring for each theory a             for the Jellison appointment. In his
separate analysis under differing periods of                       Statement of Material Facts, he asserts that
limitation, the application of a variety of statutory              she was hired in 1989; in his Opposition
criteria, and compliance with differing appellate                  Memorandum, he states that he expressed an
authority. In the final analysis, the University has               interest in the po sition for which Jellison
demonstrated that there exist no genuine issues of                 was hired in 1993.
material fact under the intricate legal analyses
compelled by this motion and that it is entitled to
judgment as a matter of law. The University of Maine               FN7. Dr. Lakshman says Dr. Tavantzis told
System's Motion for Summary Judgment is,                           him: "We need more women in the faculty."
therefore, GRANTED.

*21 SO ORDERED.                                                    FN8. The University denies Dr. Lakshman
                                                                   ever applied for this position. It says Dr.
                                                                   Tavantzis recommended Dr. Lakshman for
        FN1. Dr. Lakshman became an American                       three positions in 1993, including Assistant
        citizen in 1999.                                           Research Professor, and Dr. Lakshman was
                                                                   awarded one of the other recommended
                                                                   positions: Assistant Scientist. There is no
        FN2. Prior to this decision, the Court issued              information in the record whether there was
        an extensive Order, ruling on hundreds of                  in fact an open position as an "Assistant
        objections to the Statements of Material                   Research Professor" and, if so, who received
        Fact. This recitation is a distillation of the             the appointment. There is no further
        facts that have survived the prior Order.                  information about this position.


        FN3. The University of Maine, located in                   FN9. The University states that the Search
        Orono, is one of seven universities within                 Committee initially narrowed its search to
        the Defendant University of Maine System.                  three finalists: two males and one female. It
        The Department of Biological Sciences is a                 says it offered the position to two of the
        department within the College of Natural                   candidates, each of whom turned the offer
        Sciences, Forestry, and Agriculture at the                 down, and decided not to offer the position
        University of Maine.                                       to the third. Instead, the Committee offered
                                                                   the position to the next candidate, Dr. Annis.

        FN4. The Maine Agricultural and Forestry
        Experiment Station is affiliated with the                  FN10. It is unclear in this record when the
        University. It is funded in part by the United             "disincentives" comment was made. Dr.
        States Department of Agriculture and                       Lakshman's memorandum assumes the
        performs applied research for state                        comment was made "shortly after Lakshman
        constituencies, such as the blueberry and                  met with Campbell", Pl.'s Mem. at 10, on
        potato industries.                                         December 14, 2000, but the record citation,
                                                                   Lakshman Dep. at 318: 5-20, makes no
                                                                   mention of the timing of the comment.
        FN5. While he remained at MAFES,                           There is no direct evidence in the record on
        however, Dr. Lakshman was confined to the                  the point, except the compelled conclusion
        MAFES career ladder, beginning with                        that the comment, assuming it was
        Research Assistant, and continuing to                      responsive to his complaints, was made after

                            Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                 Document 350-3         Filed 08/31/2004           Page 19 of 22
2004 WL 1770706                                                                                        Page 19
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

       the complaints.
                                                                  FN15. 42 U.S.C. § 2000e-5(e)(1) provides
                                                                  in pertinent part:
       FN11. Dr. Lakshman withdrew the                            A charge under this section shall be filed
       complaint on November 18, 2001, and the                    within one hundred and eighty days after the
       MHRC dismissed it in December, 2001.                       alleged unlawful employment practice
                                                                  occurred ..., except in a case of an unlawful
                                                                  employment practice with respect to which
       FN12. Under 42 U.S.C. § 2000e-5(f)(1), Dr.                 the person aggrieved has initially instituted
       Lakshman was required to file this action                  proceedings with a State ... agency with
       within ninety days of receiving his right to               authority to grant or seek relief from such
       sue letter from the EEOC. Pouliot v.                       practice ..., such charge shall be filed ...
       Fairfield, 184        F.Supp.2d       38,   52             within three hundred days after the alleged
       (D.Me.2002). There is no claim that Dr.                    unlawful employment practice occurred, or
       Lakshman failed to comply with this aspect                 within thirty days after receiving notice that
       of the federal statute of limitations. Under §             the State ... has terminated the proceedings
       4611 of the Maine Human Rights Act                         under the State law ..., whichever is earlier
       (MHRA), a complainant has six months                       ....
       "after the alleged act of unlawful                         5 M.R.S.A. § 4611 provides in pertinent
       discrimination" to file a complaint with the               part:
       MHRC. 5 M.R.S.A. § 4611. Once the                          Any person who believes that the person has
       complaint is filed, the complainant may                    been subject to unlawful discrimination ...
       request a "right to sue" letter if within 180              may file a complaint under oath with the
       days, the MHRC has not filed a civil action                commission ..., provided that such
       or has not entered into a conciliation                     complaints must be filed ... not more than 6
       agreement. If the letter is issued, the MHRC               months after the alleged act of unlawful
       ends its investigation. 5 M.R.S.A. §                       discrimination.
       4612(6). Dr. Lakshman attached to his                      Maine is considered a "deferral state" under
       Complaint a copy of right to sue letters from              this statute, meaning that it is a state in
       the EEOC and the MHRC. MHRC letter                         which a plaintiff may institute proceedings
       dated December 11, 2002; EEOC Notice of                    on such a claim with a state agency, making
       Right to Sue dated December 12, 2002.                      the deadline for filing court action 300 days
       Walton v. Nalco Chem. Co., 272 F.3d 13,                    after the practice at issue occurred rather
       21-22 (1st Cir.2001).                                      than 180 days. Hunter v. Siemens Medical
                                                                  Solutions Health Services Corp., 2003 WL
                                                                  21087010, *8 n. 4 (D.Me.2003).
       FN13. Title VII states that an employer may                5 M.R.S.A. § 4613(2)(C) provides "[t]he
       not "discriminate against any individual with              action shall be commenced not more than 2
       respect to his compensation, terms,                        years after the act of unlawful discrimination
       conditions, or privileges of employment,                   complained of."
       because of such individual's race, color,
       religion, sex, or national origin ...." 42
       U.S.C. § 2000e-2(a)(1).                                    FN16. As National Railroad clarified,
                                                                  "discrete acts" claims "are different in kind"
                                                                  from "hostile environment claims." National
       FN14. The MHRA provides that it is                         Railroad, 536 U.S. at 115. Unlike discrete
       unlawful for any employer to "discriminate                 act claims, in a hostile work environment
       with respect to hire, tenure, promotion,                   claim, it does not matter that some of the
       transfer, compensation, terms, conditions or               component acts of the hostile work
       privileges of employment or any other                      environment fall outside the statutory time
       matter directly or indirectly related to                   period, provided an act contributing to the
       employment ... because of race or color, sex               claim occurs within the filing period. Id. at
       ... ancestry or national origin ...." 5                    117. This portion of the Court's ruling
       M.R.S.A. § 4572(1)(A) .                                    addresses only the "discrete acts" claims
                                                                  under both Title VII and the MHRA.

                           Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                Document 350-3         Filed 08/31/2004           Page 20 of 22
2004 WL 1770706                                                                                        Page 20
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

                                                                 [would have been] considered for some of
                                                                 those [jobs] if he [had been] a female or a
       FN17. This claim itself rests substantially               'Native Indian." ' Paragraph 247 is Plaintiff's
       upon events prior to February 20, 2001 and                statement that "Dr. Tavantzis told [him] he
       July 14, 2001. The change in job description              should work ten times harder to be on a par
       and salary did not take place until sometime              with Americans in research." Finally,
       in February, 2002 well within both statutes               paragraph 276 is Plaintiff's statement that in
       of limitation. However, the University's                  1995-96, "Professor Frank Manzer told the
       action stands out of context unless out of                Department Chair Gelinas and his
       time events are considered, including (1) the             supervisor Tavantzis that Plaintiff should go
       University's previous discouragement of his               back to India."
       interest in a faculty position and hiring of              Contrary to Plaintiff's assertion, none of
       less qualified female applicants; (2) Dr.                 these references constitutes direct evidence
       Campbell's failure to respond to his 1998                 of     the     University's     discriminatory
       salary and classification inquiry for over a              motivation in its actions in February, 2002.
       year; (3) the "unhappy person" comments                   The First Circuit has defined "direct
       that followed his December, 2000 meeting                  evidence" as "statements by a decisionmaker
       with Dr. Campbell; (4) (depending on the                  that directly reflect the alleged animus and
       date) the "disincentive" comments from Drs.               bear squarely on the contested employment
       Campbell and Hunter; and, (5) the stray                   decision." Wennik v. PolyGram Group
       comments going back to 1995. Under Nat'l                  Distrib., 304 F.3d 123, 132 (1st Cir.2002);
       R.R. Passenger Corp. v. Morgan, 536 U.S.                  Kirk v. Hitchcock Clinic, 216 F.3d 75, 79
       101, 114, 122 S.Ct. 2061, 153 L.Ed.2d 106                 (1st Cir.2001); Febres v. Challenger
       (2002), Dr. Lakshman would not be barred                  Caribbean Corp., 214 F.3d 57, 60 (1st
       from "using the prior acts as background                  Cir.2000). None of these statements fits the
       evidence in support of a timely claim."                   First Circuit definition.
       Vesprini v. Shaw Contract Flooring
       Services, Inc., 315 F.3d 37, 42 n. 4 (1st
       Cir.2002); Martin v. Inhabitants of the City              FN19. This case is thus similar to Rathbun,
       of Biddeford, 2003 WL 1712510 * 8                         where the First Circuit recently noted that
       (D.Me.2003).                                              since the plaintiff had "acquiesced in this
                                                                 mode of analysis," the district court properly
                                                                 applied it and the plaintiff "forfeited the
       FN18. In his Opposition Memorandum, Dr.                   opportunity to argue for the application of a
       Lakshman states he has "pointed to                        different, more plaintiff-friendly standard."
       sufficient facts, if believed, from which a               Rathbun v. Autozone, Inc., 361 F.3d 62, 72
       jury could directly conclude that he was                  (1st Cir.2004). It is by no means clear the
       discriminated against on the basis of                     McDonnell Douglas burden shifting analysis
       race/ethnicity." Pl.'s Opp. Mem. at 15                    should be applied in equal pay claims
       (emphasis in original). He then string cites              initiated under Title VII. As Rathbun
       four references to the record: paragraphs 57,             pointed out, federal courts are divided on
       246, 247, and 276. Paragraph 57 is the                    this issue. Id. at 73. In this case, however,
       University's statement that Dr. Jellison's                Dr. Lakshman has elected not to make an
       belief that Dr. Lakshman was not                          Equal Pay Act, 29 U.S.C. § 206(d)(1),
       competitive for the mycology position was                 claim directly and, as in Rathbun, has
       unrelated to his race, ethnicity, national                "abjured any suggestion that the Equal Pay
       origin, color, or gender. Dr. Lakshman                    Act framework might apply." Id. Rathbun
       responded by denying the University's                     concluded that the decision to apply
       statement and making a record reference to                McDonnell Douglas to the employee's claim
       Dr. Lakshman's deposition testimony that                  could not "plausibly sink to [the] level" of
       Dr. Tavantzis told him the University                     plain error. Id. at 73 n. 4.
       needed someone to teach BIO 101 and his
       accent could pose a problem. Paragraph 246
       is Plaintiff's statement that "Dr. Tavantzis              FN20. The flaw in this part of Dr.
       told [him] that Dr. Gelinas had said he                   Lakshman's argument is it erroneously

                          Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                  Document 350-3        Filed 08/31/2004           Page 21 of 22
2004 WL 1770706                                                                                        Page 21
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

       equates academic degree with academic                      Court in the dark to guess why he contends
       position.                                                  he has established the factual predicate for
                                                                  the application of Desert Palace.

       FN21. The Court can only speculate why the
       University paid Dr. Lakshman less over an                  FN23. This Court has already discussed Dr.
       extended period. Was this an institutional                 Lakshman's references to "direct evidence"
       application of Newton's First Law: "A body                 in SMFs ¶ ¶ 57, 246, 247, and 276 and
       at rest tends to stay at rest"? Was it an                  concluded they did not constitute direct
       example of Downeast parsimoniousness?                      evidence as defined by the First Circuit.
       Dr. Tavantzis's lack of influence on behalf
       of his subordinate colleague with the
       Department Chairs? Dr. Lakshman's                          FN24. The thirty three paragraphs string
       inability to independently generate grant and              cited for circumstantial evidence amount to
       research funding? All of these are possible                a classic scattershot. Some are within time;
       and speculative. What is equally speculative               most are out of time. The vast bulk has
       and fatal is any evidence that connects the                nothing to do with the remaining Title VII
       University's inaction to improper bias.                    discrete act claim. The plaintiff seems to be
                                                                  saying to the Court: "There must be some
                                                                  evidence supporting my case somewhere in
       FN22. Dr. Lakshman made a Desert Palace                    my statement of material facts. You go find
       argument in only the most oblique and                      it." The Court declines the plaintiff's
       cursory manner. There is nothing on the face               invitation to act as his advocate. Cadle Co.
       of his complaint triggering a mixed motive                 v. Hayes, 116 F.3d 957, 960 (1st Cir.1997)
       analysis. On the understandable assumption                 (quoting Medina-Munoz v. R.J. Reynolds
       that Dr. Lakshman was not engaging in a                    Tobacco Co., 896 F.2d 5, 8 (1st
       Desert Palace approach, the University did                 Cir.1990)(The Court will not pay heed to
       not mention a mixed motive analysis in its                 "conclusory       allegations,     improbable
       initial Summary Judgment Memorandum. In                    inferences (or) unsupported speculation.")).
       his reply, Dr. Lakshman's references to
       Desert Palace appear in the context of
       whether direct evidence is necessary to                    FN25. Congress amended § 1981 by adding
       sustain a claim of Title VII discrimination.               § 101 of the Civil Rights Act of 1991: "[f]or
       During the discussion, Dr. Lakshman                        purposes of this section, the term, 'make and
       mentions the rubric from Desert Palace that                enforce contracts' includes the making,
       unlawful employment discrimination can be                  performance, modification, and termination
       established if the plaintiff "demonstrates that            of all benefits, privileges, and conditions of
       ... an illegitimate criterion was a motivating             the contractual relationship." Pub.L. 102-
       factor for any employment practice, even                   166, 105 Stat. 1071 codified in 42 U.S.C. §
       though other factors may have motivated the                1981(b). The congressional enactment
       practice." Desert Palace, 539 U.S. 90, 123                 followed the Supreme Court's decision in
       S.Ct. 2148, 156 L.Ed.2d 84. However, his                   Patterson v. McLean Credit Union, 491 U.S.
       memorandum fails to engage in a Desert                     164, 177-78, 109 S.Ct. 2363, 105 L.Ed.2d
       Palace analysis; there is no attempt to fit the            132 (1989), which held that while § 1981's
       law to the facts. He simply argues he has                  "make and enforce contracts" language
       "pointed to sufficient facts, if believed, from            prohibited discriminatory hiring, it did not
       which a jury could directly conclude that he               proscribe discriminatory termination or
       was discriminated against on the basis of                  other discriminatory actions occurring after
       race/ethnicity." Pl.'s Reply Brief at 14-15.               the employment relationship was formed.
       To give Dr. Lakshman the benefit of the                    The 1991 provision made §               1981's
       doubt, the Court will address these                        prohibition against racial discrimination in
       conclusory assertions as having raised a                   the making and enforcement of contracts
       mixed motive theory of discrimination. In                  apply "to all phases and incidents of the
       failing to explain his argument, Dr.                       contractual       relationship,      including
       Lakshman has left the University and the                   discriminatory      contract    terminations."

                           Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                   Document 350-3        Filed 08/31/2004          Page 22 of 22
2004 WL 1770706                                                                                        Page 22
 --- F.Supp.2d ---
(Cite as: 2004 WL 1770706 (D.Me.))

       Rivers v. Roadway Express, 511 U.S. 298,                    "at the entire spectrum of disparate
       302, 114 S.Ct. 1510, 128 L.Ed.2d 274                        treatment of men and women, including
       (1994).                                                     conduct having the purpose or effect of
                                                                   unreasonably interfering with an individual's
                                                                   performance or creating an intimidating,
       FN26. Dr. Lakshman also contends he was                     hostile or offensive environment." Brown,
       told that his chances for promotion would                   68 F.3d at 540 (quoting Meritor Sav. Bank,
       have been greater if he had been female and                 FSB v. Vinson, 477 U.S. 57, 64-65, 106
       that he was unqualified for the mycology                    S.Ct. 2399, 91 L.Ed.2d 49 (1986)) (internal
       position because he was male. These                         quotation marks excluded).
       comments would not be applicable to a §
       1981 cause of action, since they involve
       potential gender bias.                                      FN32. As it turned out, Dr. Jellison was not
                                                                   the individual who later initiated the daily
                                                                   reporting requirement that further singled
       FN27. The retaliation provisions of Maine                   out Dr. Lakshman. There is no evidence as
       statutory law essentially track the provisions              to who this person was or why the daily
       of federal law and the same analytic                        reporting requirement was instituted.
       processes apply to each. Bishop v. Bell
       Atlantic Corp., 143 F.Supp.2d 59, 62                2004 WL 1770706 (D.Me.)
       (D.Me.2001).
                                                           END OF DOCUMENT

       FN28. With respect to Dr. Lakshman's
       claims for salary disparity and change in job
       description, for purposes of the statute of
       limitations, the dates are the same as
       determined in the Title VII and MHRA
       discussion, supra Section (A)(1)(a), (b):
       February 23, 2001 under the MHRA and
       July 14, 2001 under Title VII. The Court's
       recitation of the events prior to these dates is
       for background purposes only. Infra n. 17.


       FN29. Dr. Lakshman states that "although
       his raise was increased by 19%, his previous
       salary was so low that it was only increased
       from $37,000 to $45,000, approximately by
       $8,000. Surely that $8,000 alone would not
       in itself have caused the time and energy
       expended by University agents in battling
       this matter with Plaintiff and the union for
       over a year." Pl.'s Mem. at 38-39. His
       complaint alleges lost wages and lost future
       earnings as a consequence of the
       University's alleged retaliation.


       FN30. The University has admitted in its
       Answer it receives federal funds. Pl.'s
       Complaint para. 51; Def.'s Answer at p. 51.


       FN31. Title VII (and thus Title IX) strikes

                            Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
